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 8                                    IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                           No. 1:15-CR-00169-DAD-BAM

12                                       Plaintiff,       FINAL ORDER OF FORFEITURE

13                               v.

14    JORGE MARISCAL,

15                                       Defendant.

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17             WHEREAS, on June 19, 2017, the United States filed a Stipulation and Application for

18    Preliminary Order of Forfeiture and Publication Thereof;

19             AND WHEREAS, on June 19, 2017, the Court entered a Preliminary Order of

20    Forfeiture, forfeiting to the United States all right, title, and interest of defendant Jorge

21    Mariscal in the following property:

22                      a. Approximately $3,500.00 in U.S. Currency.

23             AND WHEREAS, beginning on June 24, 2017, for at least 30 consecutive days

24    respectively, the United States published notice of the Court’s Order of Forfeiture on the official

25    internet government forfeiture site www.forfeiture.gov. Said published notice advised all third

26    parties of their right to petition the Court within sixty (60) days from the first day of publication

27    of the notice for a hearing to adjudicate the validity of their alleged legal interest in the forfeited

28    property;
     FINAL ORDER OF FORFEITURE                           1
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 1             AND WHEREAS, the Court has been advised that no third party has filed a claim to the

 2    subject property and the time for any person or entity to file a claim has expired.

 3             Accordingly, it is hereby ORDERED and ADJUDGED:

 4             1.       A Final Order of Forfeiture shall be entered forfeiting to the United States of

 5    America all right, title, and interest in the above-listed property pursuant to 21 U.S.C. §

 6    853(a), to be disposed of according to law, including all right, title, and interest of Jorge

 7    Mariscal.

 8             2.       All right, title, and interest in the above-listed property shall vest solely in the

 9    name of the United States of America.

10             3.       The United States Marshals Service shall maintain custody of and control over

11    the subject property until it is disposed of according to law.

12    IT IS SO ORDERED.
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          Dated:       September 7, 2017
14                                                              UNITED STATES DISTRICT JUDGE

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     FINAL ORDER OF FORFEITURE                              2
